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8                                  UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

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11    GUY HART, et al.                        )   Case No. CV 21-7308 FMO (PLAx)
                                              )
12                        Plaintiffs,         )
                                              )
13                 v.                         )   JUDGMENT
                                              )
14    MICKEY HENSCHEL, et al.,                )
                                              )
15                        Defendants.         )
                                              )
16

17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18    Dated this 28th day of October, 2021.

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20                                                                  /s/
                                                             Fernando M. Olguin
21                                                        United States District Judge

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